          Case 1:17-cr-00201-ABJ Document 44 Filed 11/10/17 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.

 PAUL J. MANAFORT, Jr., and                 Crim. No. 17-201 (ABJ)
 RICHARD W. GATES III,


               Defendants


   GOVERNMENT’S MEMORANDUM IN OPPOSITION TO DEFENDANT GATES’
    REQUEST TO MODIFY HIS RELEASE CONDITIONS BY LEAVING HOME
      CONFINEMENT ON NOVEMBER 11, 2017 AND NOVEMBER 12, 2017

       The United States of America, by and through Special Counsel Robert S. Mueller III,

submits this memorandum in opposition to the defendant Gates’s motion to modify his conditions

of release for November 11 and November 12, 2017. See ECF#41. In particular, the government

opposes Mr. Gates’ motion to be released from home detention during this weekend aside from

his attendance at religious services (a condition which had been included in his initial release

bond). As the Court is aware, the parties are attempting to negotiate a bail package for presentation

to the Court. Mr. Gates most recently proposed a bail package to the government late last night.

No agreement has been made however, at least in part because the government has not yet been in

a position to assess the full extent of the defendant’s bail package, has not yet verified the

defendant’s net worth and has not yet had the opportunity to interview any of his proposed sureties.

Of note, there has been a controlling development since the government consented to the

defendant’s request to be release from home detention on November 4 th and 5th, namely that this

Court effectively held that each defendant constituted a risk of flight under the Bail Reform Act.

Specifically, on November 6, the Court ruled that: “pursuant to sections (b) and (c)(1) [of the Bail
         Case 1:17-cr-00201-ABJ Document 44 Filed 11/10/17 Page 2 of 2



Reform Act], that merely some personal recognizance upon execution of an unsecured appearance

bond will not reasonably assure the appearance of either defendant and that I must impose

additional conditions under subsection (c)(1)(B).” (See Transcript of November 6, 2017 Bail

Hearing, page 25). The defendant Gates has effectively now asked to be released on his own

recognizance and the Court should deny that motion.


                                                  Respectfully submitted,

                                                  ROBERT S. MUELLER III
                                                  Special Counsel

Dated: November 10, 2017                   By:    __/s/____________________
                                                  Andrew Weissmann
                                                  Greg D. Andres
                                                  Kyle R. Freeny
                                                  (202) 616-0800




                                              2
